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                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO.: ___________________


    ERICA BRADLEY

                                      Plaintiff,

    v.


    H&M DEVELOPMENT, LLC, AND
    BEACON TOWER OF AVENTURA
    COMMERCIAL CONDOMINIUM ASSOC.,
    INC.

                      Defendants.
    __________________________________/

                                         DEFENDANTS’ NOTICE OF REMOVAL

              Defendants, H&M DEVELOPMENT, LLC (“H&M Development”) and BEACON

  TOWER OF AVENTURA COMMERCIAL CONDOMINIUM ASSOCIATION, INC. (“Beacon

  Tower”) by and through their undersigned attorneys, file this Notice of Removal pursuant to the

  Federal Rules of Civil Procedure and 28 U.S.C. §§ 1331, 1367, 1441 and 1446, and state as

  follows:

              1.         On April 10, 2019, Plaintiff filed the above-styled action in the Circuit Court of the

  11th Judicial District of Florida as Case Number 2019-010892-CA-01. Plaintiff’s claims arise

  from allegations of employment discrimination and civil rights violations.

              2.         Defendants provide this notice of removing the action from the 11th Judicial Circuit

  of Florida to this Court. Removal is proper under 28 U.S.C. § 1441(a) because the Court has federal

  question jurisdiction.




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              3.         This notice has been timely filed within 30 days of service on Defendants as per 28

  U.S.C. § 1446(b)(1). All Defendants were served with a Summons and the Complaint April 16,

  2019.

                                                    Federal Question Jurisdiction

              4.         Pursuant to 28 U.S.C. § 1331, “district courts shall have original jurisdiction of all

  civil actions arising under the Constitution, laws, or treaties of the United States.” A defendant

  may remove any “civil action brought in a State court of which the district courts of the United

  States have original jurisdiction.” 28 U.S.C. § 1441(a).

              5.         Plaintiff’s Complaint charges each defendant with one count of violating 42 U.S.C.

  § 1981. The Court has original jurisdiction over these federal claims, allowing for removal of the

  action.

              6.         Plaintiff does not allege any violation of any state laws.

                                                                       Venue

              7.         Venue in the Miami division of the Southern District of Florida is proper. Plaintiff

  was, for a short time, an employee of Defendant, Beacon Tower. Plaintiff was never an employee

  of H&M Development. Beacon Tower is a building located in Miami-Dade County, Florida.

                                                 Attachment of State-Court Filings

            8.           In accordance with 28 U.S.C. § 1446(a), attached to this motion as Exhibit A are

 true and correct copies of all process, pleadings and orders that have been filed in the state court to

 date.

            9.           There are no motions or oppositions currently pending in the state court and

 therefore no copies to attach as otherwise required by Southern District, Fla. Local Rule 7.2.



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            10.          In removing this action, Defendants do not waive any available defenses or admit

 any of the Complaint’s allegations.



                                                   CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on this 2nd day of May, 2019, a true and correct copy of the

  foregoing was filed electronically via CM/ECF, which will send an automatic e-mail message to

  the following parties: J. Freddy Perera, Esq., Perera Barnhart, 12555 Orange Drive, 2 nd Floor,

  Davie,             Florida             33330              freddy@pereralaw.com;                         valerie@pererabarnhart.com;

  brody@pereabarnhart.com; and waynice@perer@barnhart.com.



                                                           Respectfully submitted,

                                                            COLE, SCOTT & KISSANE, P.A.
                                                            Counsel for Defendants, Beacon Tower of Aventura
                                                            Commercial Condominium Association, Inc.
                                                            and H&M Development, LLC
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                                                   By: s/ Frances P. Allegra
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                                                       Florida Bar No.: 58654

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